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 1 SHEPPARD MULLIN RICHTER & HAMPTON LLP
     A Limited Liability Partnership
 2   Including Professional Corporations
   GARY L. HALLING, Cal. Bar No. 66087
 3 JAMES L. McGINNIS, Cal. Bar No. 95788
   MICHAEL W. SCARBOROUGH, Cal. Bar No. 203524
 4 Four Embarcadero Center, 17th Floor
   San Francisco, California 94111-4106
 5 Telephone: 415-434-9100
   Facsimile:    415-434-3947
 6 E-mail:       ghalling@sheppardmullin.com
                 jmcginnis@sheppardmullin.com
 7               mscarborough@sheppardmullin.com

 8 LEO D. CASERIA, Cal. Bar No. 240323
   333 South Hope Street, 43rd Floor
 9 Los Angeles, California 90071-1448
   Telephone: 213-620-1780
10 Facsimile:     213-620-1398
   E-mail:        lcaseria@sheppardmullin.com
11
   Attorneys for Defendants
12 SAMSUNG SDI AMERICA, INC.,
   SAMSUNG SDI CO., LTD.,
13 SAMSUNG SDI (MALAYSIA) SDN. BHD.,
   SAMSUNG SDI MEXICO S.A. DE C.V.,
14 SAMSUNG SDI BRASIL LTDA.,
   SHENZEN SAMSUNG SDI CO., LTD. and
15 TIANJIN SAMSUNG SDI CO., LTD.

16

17                              UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                 SAN FRANCISCO DIVISION

20

21 In re: CATHODE RAY TUBE (CRT)                Case No. 07-5944 SC
   ANTITRUST LITIGATION
22                                              MDL No. 1917

23                                              STIPULATION AND [PROPOSED]
                                                ORDER REGARDING DISCOVERY TO
24 This Document Relates to:                    OCCUR AFTER SEPTEMBER 5, 2014
25 TECH DATA ACTION
   Individual Case No. 13-CV-00157 SI
26

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     SMRH:431800749.1                               STIPULATION AND [PROPOSED] ORDER REGARDING
                                                      DISCOVERY TO OCCUR AFTER SEPTEMBER 5, 2014
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 1                      The undersigned Defendants (collectively, “Defendants”) and plaintiffs Tech Data

 2 Corporation and Tech Data Product Management, Inc. (collectively, “Tech Data”) have conferred

 3 by and through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS

 4 FOLLOWS:

 5                      WHEREAS, September 5, 2014 is the deadline to complete fact discovery in the

 6 Tech Data action.

 7                      WHEREAS, on August 28, 2014, Tech Data notified Defendants that due to a

 8 mistake by its ESI vendor some documents that were designated as responsive were not produced

 9 with Tech Data's prior production and that Tech Data would produce those documents to

10 Defendants on September 3, 2014.

11                      WHEREAS, on September 3, 2014, Tech Data produced documents Bates labeled

12 TDCRT-068604 through TDCRT-107506.

13                      WHEREAS, Defendants do not have sufficient time to review Tech Data’s

14 September 3 production prior to September 5, 2014.

15                      WHEREAS, on July 21, 2014, Defendants requested deposition dates for Tech

16 Data witness Kellmeny Jeffcoat.

17                      WHEREAS, on August 15, 2014, Defendants noticed the deposition of Kellmeny

18 Jeffcoat for September 5, 2014.

19                      WHEREAS, Tech Data and Defendants have conferred and agreed to schedule

20 Kellmeny Jeffcoat’s deposition for a date, still to be determined, after September 5, 2014.

21                      WHEREAS, Tech Data previously identified its former employees Mary Meador

22 and Susan Gilbert in response to Samsung SDI Co., Ltd.’s Interrogatory No. 1, but represented

23 that these individuals left Tech Data’s employment prior to 2000 and responsive documents, if

24 any, relating to these individuals have been produced to Defendants.

25                      WHEREAS, in the interest of efficiency and preventing the unnecessary

26 expenditure of resources, Tech Data and Defendants agreed that in the event Susan Gilbert or

27 Mary Meador appear on Tech Data’s witness list for trial, Tech Data will make that witness

28 available for deposition at least 1 month before trial.

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 1                      WHEREAS, on April 18, 2014, Tech Data agreed that it would search for and

 2 produce hard copy documents relating to individuals that Defendants intend to depose and

 3 individuals that Tech Data intends to rely on to support its claims.

 4

 5                      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between

 6 counsel as follows:

 7

 8           1. To the extent Defendants seek to take depositions, subject to the Court’s Discovery

 9                Protocol (Dkt. No. 1128) and solely related to documents or materials produced by

10                Tech Data on September 3, 2014, Tech Data will not oppose such requests on the basis

11                that they were made after the discovery cut-off. Tech Data, however, preserves all

12                other responses and objections to any additional depositions that may be sought by

13                Defendants under this paragraph. Tech Data shall work in good faith with Defendants

14                to resolve any issues that may arise with respect to deposition scheduling based on its

15                September 3 production.

16           2. Defendants may notice and take the deposition of Tech Data witness Kellmeny Jeffcoat

17                after September 5, 2014, subject to the Court’s Discovery Protocol (Dkt. No. 1128).

18           3. Defendants may notice and take the depositions of Mary Meador and/or Susan Gilbert

19                after September 5, 2014 to the extent that these witnesses appear on Tech Data’s

20                pretrial witness list, subject to the Court’s Discovery Protocol (Dkt. No. 1128). To the

21                extent that either witness appears on Tech Data’s pretrial witness list, Tech Data shall

22                make that witness available for deposition at least one month before trial.

23           4. Tech Data shall search for and produce hard copy documents relating to any

24                individuals deposed after September 5, 2014. Tech Data shall produce any such

25                documents far enough in advance of the corresponding deposition to give Defendants

26                sufficient time to review those documents in preparation for that deposition.

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 1           5. To the extent motions to compel may be required for items 1-4 above, Defendants may

 2                file those motions within a reasonable period after the depositions in question.

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 4 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 7 Dated:___________________                        ___________________________________

 8                                                     UNITED STATES DISTRICT JUDGE

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 1 Dated: September 5, 2014             By:          /s/ Leo D. Caseria_________

 2                                      SHEPPARD MULLIN RICHTER & HAMPTON
                                        LLP
 3                                      Gary L. Halling, Cal. Bar No. 66087
                                        James L. McGinnis, Cal. Bar No. 95788
 4                                      Michael W. Scarborough, Cal. Bar No. 203524
                                        Four Embarcadero Center, 17th Floor
 5                                      San Francisco, CA 94111-4109
                                        Telephone:    (415) 434-9100
 6                                      Facsimile:    (415) 434-3947
                                        E-mail:       ghalling@sheppardmullin.com
 7                                                    jmcginnis@sheppardmullin.com
                                                      mscarborough@sheppardmullin.com
 8
                                        Leo D. Caseria, Cal. Bar No. 240323
 9                                      333 South Hope Street, 43rd Floor
                                        Los Angeles, California 90071-1448
10                                      Telephone: 213-620-1780
                                        Facsimile:    213-620-1398
11                                      E-mail:       lcaseria@sheppardmullin.com

12                                      Attorneys for Defendants Samsung SDI America,
                                        Inc.; Samsung SDI Co., Ltd.; Samsung SDI
13                                      (Malaysia) SDN. BHD.; Samsung SDI Mexico S.A.
                                        DE C.V.; Samsung SDI Brasil Ltda.; Shenzen
14                                      Samsung SDI Co., Ltd. and Tianjin Samsung SDI
                                        Co., Ltd.
15

16                                      By:            /s/ Scott N. Wagner__________
                                        BILZIN SUMBERG BAENA PRICE & AXELROD
17                                      LLP
18                                      Robert W. Turken
                                        Scott N. Wagner
19                                      1450 Brickell Ave, Suite 2300
                                        Miami, FL 33131-3456
20                                      Telephone:     (305) 374-7580
                                        Facsimile:     (305) 374-7593
21                                      Email:         rturken@bilzin.com
                                                       swagner@bilzin.com
22
                                        BOIES, SCHILLER & FLEXNER LLP
23
                                        Stuart Singer
24                                      401 East Las Olas Blvd., Suite 1200
                                        Fort Lauderdale, FL 33301
25                                      Telephone:     (954) 356-0011
                                        Facsimile:     (954) 356-0022
26                                      Email:         ssinger@bsfllp.com
27

28

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 1                                      William A. Isaacson
                                        5301 Wisconsin Ave. NW, Suite 800
 2                                      Washington, D.C. 20015
                                        Telephone:     (202) 237-2727
 3                                      Facsimile:     (202) 237-6131
                                        Email:         wisaacson@bsfllp.com
 4

 5                                      Philip J. Iovieno
                                        Anne M. Nardacci
 6                                      30 South Pearl Street, 11th Floor
                                        Albany, NY 12207
 7                                      Telephone:      (518) 434-0600
                                        Facsimile:      (518) 434-0665
 8                                      Email:          piovieno@bsfllp.com
                                                        anardacci@bsfllp.com
 9

10                                      Attorneys for Plaintiffs Tech Data Corporation and
                                        Tech Data Product Management
11

12                                      By: /s/ Jeffrey L. Kessler
                                        WINSTON & STRAWN LLP
13                                      Jeffrey L. Kessler (pro hac vice)
                                        A. Paul Victor (pro hac vice)
14
                                        Aldo A. Badini, Cal. Bar No. 257086
15                                      Eva W. Cole (pro hac vice)
                                        Molly M. Donovan (pro hac vice)
16                                      200 Park Avenue
                                        New York, NY 10166
17                                      Telephone:      (212) 294-4692
18                                      Facsimile:      (212) 294-4700
                                        Email: jkessler@winston.com
19                                              abadini@winston.com
                                                pvictor@winston.com
20                                              ewcole@winston.com
                                                mmdonovan@winston.com
21

22                                      WEIL, GOTSHAL & MANGES LLP
                                        Steven A. Reiss (pro hac vice)
23                                      David L. Yohai (pro hac vice)
                                        Adam C. Hemlock (pro hac vice)
24                                      767 Fifth Avenue
                                        New York, NY 10153-0119
25                                      Telephone:     (212) 310-8000
26                                      Facsimile:     (212) 310-8007
                                        Email: steven.reiss@weil.com
27                                             david.yohai@weil.com
                                               adam.hemlock@weil.com
28

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 1                                      Attorneys for Defendants Panasonic Corporation
                                        (f/k/a Matsushita Electric Industrial Co., Ltd.),
 2                                      Panasonic Corporation of North America, and MT
                                        Picture Display Co., Ltd.
 3

 4
                                        By: /s/ Jon V. Swenson
 5                                      BAKER BOTTS LLP
                                        Jon V. Swenson, Cal Bar No. 233054
 6                                      1001 Page Mill Road
                                        Building One, Suite 200
 7
                                        Palo Alto, CA 94304
 8                                      Telephone:      (650) 739-7500
                                        Facsimile:      (650) 739-7699
 9                                      Email: jon.swenson@bakerbotts.com
10                                      John M. Taladay (pro hac vice)
                                        Joseph Ostoyich (pro hac vice)
11
                                        Erik T. Koons (pro hac vice)
12                                      Charles M. Malaise (pro hac vice)
                                        1299 Pennsylvania Ave., N.W.
13                                      Washington, DC 20004-2400
                                        Telephone:      (202) 639-7700
14                                      Facsimile:      (202) 639-7890
15                                      Email: john.taladay@bakerbotts.com
                                                joseph.ostoyich@bakerbotts.com
16                                              erik.koons@bakerbotts.com
                                                charles.malaise@bakerbotts.com
17
                                        Attorneys for Defendants Koninklijke Philips N.V.
18                                      and Philips Electronics North America Corporation
19

20                                      By: /s/ Richard Snyder
                                        FRESHFIELDS BRUCKHAUS
21                                         DERINGER US LLP
                                        Terry Calvani Cal. Bar. No. 53260
22                                      Christine Laciak (pro hac vice)
                                        Richard Snyder (pro hac vice)
23                                      701 Pennsylvania Avenue NW, Suite 600
24                                      Washington, D.C. 20004
                                        Telephone:      (202) 777-4565
25                                      Facsimile:      (202) 777-4555
                                        Email: terry.calvani@freshfields.com
26                                              christine.laciak@freshfields.com
                                                richard.snyder@freshfields.com
27

28
                                        Attorneys for Beijing-Matsushita Color CRT
                                           -6-
     SMRH:431800749.1                               STIPULATION AND [PROPOSED] ORDER REGARDING
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 1                                      Company, Ltd.

 2
                                        By: /s/ Eliot A. Adelson
 3                                      KIRKLAND & ELLIS LLP
                                        Eliot A. Adelson, Cal. Bar. No. 205284
 4
                                        555 California Street, 27th Floor
 5                                      San Francisco, CA 94104
                                        Telephone:      (415) 439-1413
 6                                      Facsimile:      (415) 439-1500
                                        Email: eadelson@kirkland.com
 7
                                        Attorneys for Defendants Hitachi, Ltd., Hitachi
 8                                      Displays, Ltd. (n/k/a Japan Display East, Inc.),
                                        Hitachi Asia, Ltd., Hitachi America, Ltd., and Hitachi
 9                                      Electronic Devices (USA), Inc.
10

11
                                        By: /s/ Lucius B. Lau
12                                      WHITE & CASE LLP
                                        Christopher M. Curran (pro hac vice)
13                                      George L. Paul (pro hac vice)
                                        Lucius B. Lau (pro hac vice)
14                                      701 Thirteenth Street, N.W.
15                                      Washington, D.C. 20005
                                        Telephone:     (202) 626-3600
16                                      Facsimile:     (202) 639-9355
                                        Email: ccurran@whitecase.com
17                                              gpaul@whitecase.com
                                                alau@whitecase.com
18

19                                      Attorneys for Defendants Toshiba Corporation,
                                        Toshiba America, Inc., Toshiba America Information
20                                      Systems, Inc., Toshiba America Consumer Products,
                                        L.L.C., and Toshiba America Electronic Components,
21                                      Inc.

22
                                        By: /s/ Rachel S. Brass
23                                      GIBSON, DUNN & CRUTCHER LLP
                                        Rachel S. Brass, Cal. Bar. No. 219301
24                                      Joel S. Sanders, Cal. Bar. No. 107234
                                        Austin V. Schwing, Cal. Bar. No. 211696
25
                                        555 Mission Street, Suite 3000
26                                      San Francisco, CA 94105
                                        Telephone:     (415) 393-8200
27                                      Facsimile:     (415) 393-8306
                                        Email: rbrass@gibsondunn.com
28                                              jsanders@gibsondunn.com

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 1                                               aschwing@gibsondunn.com

 2                                      Attorneys for Defendants Chunghwa Picture Tubes,
                                        Ltd. and Chunghwa Picture Tubes (Malaysia)
 3

 4                                      By: /s/ Hojoon Hwang
                                        MUNGER, TOLLES & OLSON LLP
 5
                                        Hojoon Hwang, Cal. Bar. No. 184950
 6                                      William D. Temko, Cal. Bar. No. 98858
                                        Laura K. Lin, Cal. Bar. No. 281542
 7                                      560 Mission Street
                                        Twenty-Seventh Floor
 8                                      San Francisco, California 94105-2907
                                        Telephone: (415) 512-4000
 9
                                        Facsimile: (415) 512-4077
10                                      Email: hojoon.hwang@mto.com
                                                william.temko@mto.com
11                                              laura.lin@mto.com
12                                      Attorneys For Defendants LG Electronics, Inc. and
                                        LG Electronics U.S.A., Inc.
13

14
                                        By: /s/ Kathy L. Osborn________
15                                      FAEGRE BAKER DANIELS LLP
                                        Kathy L. Osborn (pro hac vice)
16                                      Ryan M. Hurley (pro hac vice)
                                        300 N. Meridian Street, Suite 2700
17                                      Indianapolis, IN 46204
                                        Telephone: (317) 237-0300
18
                                        Facsimile: (317) 237-1000
19                                      Email: kathy.osborn@FaegreBD.com
                                                ryan.hurley@FaegreBD.com
20
                                        Jeffrey S. Roberts (pro hac vice)
21                                      3200 Wells Fargo Center
                                        1700 Lincoln Street
22                                      Denver, CO 80203
                                        Telephone: (303) 607-3500
23                                      Facsimile: (303) 607-3600
24                                      Email: jeff.roberts@FaegreBD.com

25                                      Stephen M. Judge (pro hac vice)
                                        202 S. Michigan Street, Suite 1400
26                                      South Bend, IN 46601
                                        Telephone: (574) 234-4149
27                                      Facsimile: (574) 239-1900
                                        Email: steve.judge@FaegreBd.com
28

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 1                                                     Calvin L. Litsey, Cal. Bar. No. 289659
                                                       1950 University Avenue, Suite 450
 2                                                     East Palo Alto, CA 94303-2279
                                                       Telephone: (650) 324-6700
 3                                                     Facsimile: (650) 324-6701
                                                       Email: calvin.litsey@FaegreBD.com
 4

 5                                                     Attorneys for Defendants Thomson SA and Thomson
                                                       Consumer Electronics, Inc.
 6

 7
                        Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of
 8
     this document has been obtained from each of the above signatories.
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